Case 1:21-cr-00083-TNM Document 114 Filed 03/30/23 Page 1 of 11

TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

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FROM: 26140509

TO: Asap, A

SUBJECT: Continuance cover letter
DATE: 03/05/2023 03:06:21 PM

'm submitting this to the court directly without edits being done by my attorneys because | don't want the same thing that
happened when | submitted something similar to happen here. Last time | submitted something that put Cara Halverson (my
previous attorney) in a negative light to the appellate court, she refused to submit it, but told me that she submitted it. For
months | thought that my appeal had been submitted to the appellate courts as she had told me, but then one day | got a letter
saying my appeal was dismissed due to lack of prosecution, they never did get my appeal...

So, spoiler alert, Bill and Ryan are not put in the greatest light, but they are put in the light, everything here is true and should
be on the record as they unfortunately are also responsible for the delays. They are the reason that this court originally thought
that | was ready for trial when | was not.

Apologies for not having things spellchecked or formatted properly, but this court doesn't follow the laws of this country or do
anything about my constitutional or due process abuses, so truthfully I'm not that SOITy...

Please read the index to help you find sections...
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Thanks,

"FADDEN
oe TREVOR N. MCI ADD
United States District Judge 4 49 D2

 

 

RECEIVED
Mail Room

MAR 27 2023

Angela D, Caesar, Clerk of Court 7
U.S, District Court, District of Columbia

 

 
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

FROM: 26140509

TO: Eoj, Hong

SUBJECT: Continuance Index
DATE: 03/06/2023 11:41:33 AM

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Part B: Why Bill Shipley Was Wrong (And Knew It) When He Said We Were Ready For Trial:

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Section 2: Coming To Our Original Agreement/ Acting On It: pg. 2-5
Section 3: An Attempted Bait And Switch (Or Memory Problems): pg. 5-6
Section 4: Forming Our New Agreement: pg. 6-7

Section 5: "Complications" And Breaches To Our Agreement (A Fraction Of The Total Amount): pg. 7-9

Section 6: Bill Shipley Sharing "We Are Ready For Trial": pg. 9
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Section 8: Bill Conceding To Our Agreement: pg. 10
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A /

FROM: 26140509

TO: Asap, A

SUBJECT: continuance/ no trial date 1
DATE: 03/03/2023 06:19:09 PM

“Part A: Overall Background/Argument:***

On 2/3/23 during our insanely short court hearing where you essentially refused to hear what | had to Say or listen to what
issues | was still suffering from, you shared another ridiculous statement that stuck with me. This statement showed me that you
don't listen, understand, or care about the problems I'm facing in preparing for pre-trial motions or for trial itself. As | heard again
that you weren't going to do anything about the jails and government taking or refusing to give me what | need to prepare
(discovery and preparations) | verbally appealed. | essentially shared that | can't be expected to be ready for trial with these
continuing circumstances and refusals of relief. | expressed that you were essentially railroading me toward trial by ignoring
these issues. Your response was something along the lines of "I'm not rushing you towards trial, You've had lwo years to
prepare.”

This showed me exactly what | knew was going to happen, you were going to essentially plug your ears, scream "lalala | can't
and then express your ignorance and arrogance with pride with some foolish Statement ("You've had 2 years to
prepare"),

The reality is that as expressed multiple times, I've had my preparations taken from me seven times, and every time | have
them taken they aren't given back. So, when | came to my most recent jail around 12/17/22, | came here with nothing. | had to
wait to have money sent, to get paper, pens, to try to get old preparations, to get the phones to work, to get the law library up
and running, ete.. So in reality when you said that I've had two years to prepare, on 2/3/23 | really had less than two months to
prepare,

Do you know how irritating it is to start all over from Scratch seven times over the course of sixteen months? What is stopping
my current preparations from being taken again? Nothing, because you won't even make an order stopping the same thing that
has occurred seven times from happening again.

Another annoying and ignorant thing you shared following my pointing out that this was a terrible excuse was when you said
something along the lines of "Well | did warm you against representing yourself" as if this is something that's to be expected
when one chooses to represent themselves. You're one hundred percent wrong, this isn't what one should expect when
representing oneself,

As | shared with this court in person when | first made the decision to represent myself (9/2021), | made myself aware of the
many cons and few pros that representing myself would and could present. No where have | ever read that one who chooses
to represent oneself should and could expect for their Preparations to be taken seven times. No where have | read that
wardens, jails, and stand-by counsels had a right to deny sent or incoming correspondence. Do you know why that is? Because
its called among other things Access to court violations and or due process violations. It's not as you claim. it's the exact
opposite. What keeps happening to me is NOT what one is to expect. Even worse, it's not something that any court should
accept. | have a right to represent myself, and every time that these things have happened this right has been unjustifiably
trampled on. Every time I've sought relief from this happening and this court ignored it, or shared a foolish response as you
have, this courl has Stamped its approval of others taking this right away from me. That's just another reason why | say this
court is more in line with a kangaroo court. | have a right to represent myself and you and others not only aren't allowing me to
do it, but when | still find a way to do it, you allow others to come and take all my progress and tell me to start all over, and
worse, to hurry up and prepare for trial. Newsflash, it hasn't been two years of me preparing for trial, it's been two years of nol
being allowed to prepare for trial,

motions as lawyers do. They won't have para-legals, investigators, or assistant lawyers to help them. They will have to spend a
lot of time preparing motions. They will have to speak in court. They can't claim ineffective assistance of counsel if the mistake
they make in court is their own. Etc.

What you're Suggesting is that it's totally proper for others to go and steal motions, research, and preparations from someone
that represents themselves. That's absurd. | challenge you to find in any lawbook where such a ridiculous thing is written or
allowed. You won't find it.
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

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When | first contacted Bill and Ryan, they wanted to fully represent me, they offered to fully represent me for 20,000 dollars up
until trial, if | was to go to trial it would cost more. | personally lived with three others who also retained Bill and Ryan for the
same and or similar prices. These defendants had retained Bill and Ryan earlier in the process and had a lot more charges than

With this in mind, | sent a counter offer to Bill and Ryan, 7,000 dollars to be my stand-by counsels. Ryan shot back his new
offer, 10,000 dollars to represent me as as Stand-by counsel up until trial, if | was to go to trial with them representing me as
stand-by counsel | would owe them another 10,000 dollars.

Aside from a price, we also worked out what kind of things | expected them to do for me as Stand-by counsel for this price.

Our agreements included:

1) Sending me information or documents that | requested

2) Editing my motions/ making them appear more professional
3) Giving legal advise

4) Submitting motions on my behalf

5) Answering my calls and texts

6) Helping add useful information to motions
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A y

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FROM: 26140509

TO: Asap, A

SUBJECT: continuance/no trial date 1.5
DATE: 03/03/2023 06:19:56 PM

reason for this was because | recalled how many other criminal defendants I'd met had shared how their lawyers said they

would do all kinds of stuff for them, but didn't once they were paid. | wanted to give them about a two month test run before |

that time, the court acted as if it was my fault that | had to have a new Stand-by counsel, so | preferred not to potentially have it
Spew more garbage arguments out that me having to fire Bill and Ryan for breaching contracts was my fault should it happen.)
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

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FROM: 26140509

TO: Asap, A

SUBJECT: continuance/no trial date 2
DATE: 03/03/2023 06:20:55 PM

8) Aside from these major things | was also told that there was 4 Separate legal fund. | was told that additional maney raised
there would also go to me. This was shared with me as if | would actually make (nat lose money) by allowing Bill and Ryan to
represent me in any way. (Though money was raised in this fund, I've never gotten a dollar out of it), Think of it, "You'd actually
make money by hiring us", "Why wouldn't you hire us?" This is what | was told, how terrific! Not only getting help, but getting
paid to get help? Why wouldn't | hire them?

From the months of February until April 4th, Bill and Ryan kept this agreement. The court can take notice that for the first time
while representing myself my motions started coming in typed, spellchecked, had proper spacing and formats, and had
professional cover letters and endings. | didn't magically learn to do this or gain the ability to do this from a jail cell with a limited
law library. This was thanks to Bill and Ryan acting as my standby counsels. The only breach during these times was when
Ryan contacted my court appointed counsel prior to April 14th, | believe the exact date he contacted this man was April 4th.
Ryan was wondering if he had heard from me because he had heard from other defendants he represented that | was taken out
of the pod by jail guards. They shared that they had heard a guard tell me essentially "You won't be seeing these people (the
other January 6th defendants) again" and hadn't heard from me since then, This was just before these same people had heard
a guard bragging about slamming my face against a door and making me. When the court appointed counsel heard | also had

**Section 3: An Attempted Bait and switch (or memory problems):***

On April 14th 2022, minutes before my court proceeding, Bill and | went into a break out room. There, he out of no where began
telling me that when court begins | was going to "Shut up" and "[not] say a word" because "representing [myself] has been a
train-wreck". | informed Bill that the media twisted how the hearings went, and didn't report on any of the accomplishments | had
accomplished, nor the reforms/rights | had brought back to inmates of every sex and color (that in some cases hadn't even
been accomplished even when six figure attorneys tackled them for decades), how | proved the grievance process was broken
or how | helped start investigations into the jail. | shared that if only McFadden cared about the government breaking the law
and wasn't bias, my representing myself would've gone much better,

| also kindly, but awkwardly, inf ¢
he would not be anyone's stand- y counsel. He warned me that if | claimed that he was my stand-by counsel in court (just 1

Still, in court, Bill claimed he was fully representing me, perhaps thinking the court wouldn't ask me if this was true, perhaps
t correct him under pressure, or perhaps imagining I'd just cave and agree with his assertive and aggressive

| was concerned this would cause him to withdraw as he had threatened to do, taking my money with him, it really was terrible
timing. However, | also didn't want to lie to the court nor accept something that | didn't want, so | awkwardly, kindly, and simply
let the court know this wasn't true. | shared that | was indeed representing myself with Bill and Ryan as my stand-by counsels.

| personally didn't appreciate this because it put into question if | understood something that | very clearly understood... It was
Bill who didn't understand, or who was trying to randomly get me to allow him to fully represent me. Fortunately the court let me
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

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At their request | agreed to not say anything in court no matter what lies were spoken and no matter if | disagreed with
something. If | wanted Bill or Ryan to correct something right away | would simply ask the court to allow us to go into a break-
out room where | would share my concerns in private. | agreed to this.

At our next hearing in May 2022 when the court asked me if this was true (that | was allowing Bill and Ryan to represent me) |

believe | not only answered yes, but that | shared that we came to terms that | was satisfied with, including that they would be

submitting the pre-trial motions | had been working hard on (that were taken and also Separately about to be taken from me by
the DC jail... Still not recovered as of March of 2023...).

**Section 5: "Complications" And Breaches To Our Agreement (A fraction of the total amount):***
During the 60 days "test run" Bill and Ryan failed to even file a bond motion or attack the 1512 charge pre-trial.

| was told early on I'd be leaving the DC jail for a mental evaluation (Around May 20th 2022) for only 5 days and would be back
right after it was done. Hearing that it would only be five days, | agreed.
Case 1:21-cr-00083-TNM Document 114 Filed 03/30/23 Page 8 of 11

TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A g

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FROM: 26140509

TO: Asap, A

SUBJECT: continuance/no trial date 2.5
DATE: 03/03/2023 06:22:49 PM

Not much | could do about this, | was all the way in Texas as Bill and Ryan shared that they were still trying to get all my
preparations and my USB back from the DC jail who was refusing to give it back. | needed to pick up where | left off in order to
efficiently go back to representing myself. Between my preparations not being recovered "yet" (they still haven't been), me
being told there was no going back to representing myself until Ryan coming back, and not having a court session at all in
between these months, there wasn't much | could do. Bill and Ryan kept making and breaking plans to meet in person to
discuss the bond motion, even when they were in Dallas when | was, but they never did. To make matters even worse, between
the months of late May until late August | was moved from the DC jail, to Warsaw Virginia, to Grady county Oklahoma , to Fort
Worth Texas, to Grady county Oklahoma again, and back to Warsaw Virginia again. This made the idea of doing anything very
difficult, always having my preparation s taken, or having to start over from scratch.

Unfortunately the thirty days now turned to 37 days. Then, on the final and last day | found out that the report would actually be
in by the latest by 9/1/2022. however , the report didn't come in for another seventeen days on 9/17/2022. here | was in May
thinking I'd be done with all this by early June, but the report didn't come in until past mid-September...

| called and tried my best to ensure the bond motion was ready to roll as soon as the mental evaluation came in. For months |
had ensured that Bill and Ryan had all the facts and the knowledge of how to obtain the evidence necessary to show how the
government lied during my revocation and detention hearings. | also ensured that they had every other duck ina row, | helped
them actively, typing and talking about every point that would help, including arguments for bond.

So, As soon as the report came in, | expected the bond motion to be ready to go, Ryan had said it was going to be sent as soon
as the evaluation came in. However, days went on and nothing. For over three weeks | kept asking for the bond motion to be
submitted, and time and again there was some excuse. Remember, it was relayed that this was essentially ready to be
submitted, they were just simply waiting for the evaluation report to come in.

As | was growing increasingly irritated Ryan told me the report didn't say | had autism and that as a result the DOJ wasn't going
to drop my charges. | was irritated because | knew | already had been diagnosed with it in the past and felt like it was a giant
waste of time. However, around November Bill told me the opposite, that | was found to have autism. So | was wondering why
my charges weren't dropped. When | checked back in with Ryan and asked him about this he shared "Oh, the government said
that they would've dropped your charges if you were found to be mentally incompetent." This was obviously not at all what he
relayed to me months before, and it helped cause me to have quite a bit of irritation and distrust for Ryan and Bill. | was irritated
that | did all this for months and that it seemed that they had used this time at my evaluation to focus on other peoples cases as
| was left in a position where | couldn't represent myself. Looking at all my accomplishments and abilities, it's clear | never was
going to be found incompetent.

| now know the bond motion was filed on 10/11/22, though bad communication made me unaware of when it was truly filed
(until | had someone else check in February 2023) because | kept getting told "It was just filed days ago” one week to "I'm about
to file it" the next week,

| soon found out that Bill and Ryan were no longer planning to point out the governments lies as we had agreed they would do
in my reconsideration for bond motion. Despite that | had helped them figure out each and every lie, | was now being told
"McFadden won't care if the government lied, they can do that, and besides that was in the past so we aren't going to focus on
those reasons." "McFadden doesn't believe those lies." | pointed out that the Judge had in fact been fooled into believing
enough lies to make him think that | wouldn't listen to his orders, it was the reason he revoked me... | shared that their motion
should focus on proving that the government lied and that | indeed could be trusted on bond by painting to the facts. To this |
got simple comments like "McFadden already knows you are past your guidelines and will be at time served even if you were
found guilty on all charges, this along with your mental evaluation will be enough to get you released.

Not exactly a breach of contract, but more of a breach of trust occurred when Ryan was both trying to convince me not to
represent myself or push for a later trial date. Ryan shared "Even if you were found guilty on all charges, you'll have served
your time, so just let us represent you and let the trial date happen (see section 6), we can and will get your 1512 charge
dropped.” When Ryan realized | wasn't being persuaded, he then called my mother and freaked her out as he shared "If he
doesn't let us represent him he's going to be found guilty and go to prison for twenty years!" | unfortunately had to deal with my
mother, which didn't really help because | shared with her "I have to take that risk, | will not lie or reward these terrorists'." My
mother hasn't been super pleased following this conversation...
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TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A {

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FROM: 26140509

TO: Asap, A

SUBJECT: continuance/no trial date 3
DATE: 03/03/2023 06:23:31 PM

***Section 6: Bill Shipley Sharing "We Are Ready For Trial"***

Leading up to the bond hearing Bill shared that McFadden would probably be pushing for trial, | told Bill and Ryan that they
shouldn't share with the court that they were ready because so far they had failed to accomplish anything and that unless they
got me bond, | was not going to let them represent me. | also shared my concerns that they were very unfamiliar with my
defense and that the little that we had discussed about my discovery, had been surface level. | also was very concerned
because my main preparations on my USB and in the form of papers still hadn't been recovered from the DC jail yet,

To put it plainly, they weren't ready for trial and | implored them to share this with the court should it iry to push me towards trial
before | was ready.

Fast forward to when the court asked if we were ready for trial, Bill Shipley shared that we were, Upon Bill saying this | asked
for Bill and | to go into a break out room (keeping with our agreement that | wouldn't speak up in court except to ask to go into a
break out roam). In the break out room | again shared with Bill my concerns about scheduling trial, one of which being that | still
wasn't convinced that | would allow him to represent me at trial, This is something Bill had full knowledge of, and this is also
why | shared concerns with him, besides the issues of bond, Bill had at this time not known much of anything about January
6th. Bill disregarded what | had to say and said "It doesn't matter if we schedule trial, we can adjourn it as long as we need to." |
couldn't convince him, and | still wasn't able to represent myself. Bill was wrong again, this court almost didn't adjourm trial the
very first time | asked it to do so. Despite me being in worse circumstances now then | was in November (the small amount of
preparations | had then is now gone/ taken and this court won't grant relief) it currently will not adjourn the trial.

Unfortunately Bill also shared that the defense would “only take about one day, maybe even less." Bill had no idea how long the
defense would take and he even admitted to the court that he needed to [familiarize himself with my case (meet in person for
the first time/ talk with me for the first time about that day, and speak on my potential defenses)], so Bill had no reason to share
that we were ready, let alone that our defense (which he knew next to nothing about) would take "one day, maybe less".
Because of all this, trial was set for Mid-February 2023 even though we were far from ready.

**Section 7: Bond Submitted/ Denied:***

Remember, | was supposed to be able to review the bond motion before it went in. Ryan had claimed for months multiple times
he sent it or tried to send it, or tried to electronically send it to me. Non-stop, | never was given it, whether these excuses were
valid, | don't know... | do know that if he actually wanted to, he could've sent it electronically as | had friends sending me long
messages, so this is why | question if he actually did. | also question this because as mentioned in anather separate motion, the
jail I'm currently at seems to be very on top of things, and still, it's been four months of excuses for why simple paperwork hasn't
reached me... Pairing this with other lies, it's just hard for me to believe that it was actually ever sent.

Remember, Bill and Ryan were also supposed to attack the lies of the government from both my bond hearing and the
revocation hearings. However, that agreement was thrown out by Bill because "McFadden doesn't care if they lied... he doesn't
believe that you missed curfew...he doesn't believe you skipped you mental health evaluation...he knows you rescheduled it..."
So I've simply been told all they cited in this bond motion (that took them over six months to develop) was that | should be
released because of what the mental evaluation showed the court.

A few weeks later and we were finally scheduled for a bond hearing. | showed up, and within about 2 minutes the court simply
denied my bond citing (to my memory (don't have transcripts)) that | didn't obey curfew and that | skipped a mental health
evaluation... So, again | was right, Bill and Ryan should've corrected the lies from the government in the bond motion because
the court actually was fooled into thinking these things... My bond was denied, the court didn't even welcome a discussion or
rebuttal from my lawyers who just sat and accepted defeat.

As this happened, keeping in mind how many times they lied to me and breached our agreement, keeping in mind how Bill lied
and said we were ready for trial, | knew | didn't have trust or faith in Bill and Ryan fully representing me. | also knew that
according to Bill and Ryan, Ryan was now able to be back on the case and that | could go back to representing myself if |
wanted, this was discussed throughout the months. So | was a bit perplexed that as | told the court that | wanted to represent
myself again (after Bill and Ryan's attempt at bond failed) that Bill acted surprised and shared essentially( don't have
transcripts) "This is news to me your honor!" "| won't be his Stand-by counsel.."... This was a straight out lie, and | can only
guess why he did this, | can't say for certain why he did this.
Case 1:21-cr-00083-TNM Document 114 Filed 03/30/23 Page 10 of 11

TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A

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At one point | said "Bill, you're twice my age, you live in Hawaii which sounds like a nice place, | have Asperger's, and I'm in jail,
you shouldn't be the one who is angry and yelling at me, | shouldn't be the one who has to tell you how to communicate
respectfully or effectively." Towards the end, Bill relaxed, | let him know | would object to any motions to withdraw because |

wanted him and Ryan to live up to our agreements, | personally didn't and don't feel that they are keeping their end of the
agreement up.

Bill shared "Your trial is in May and my schedule is really packed in May and it's messing up my plans, | can't represent you!"
Which to me, sounded like the actual reason for the call. Days later, | called Ryan and asked him what that call with Bill was all

aboul and Ryan shared with me that Bill was sorry, Bill wasn't going to withdraw. Ryan shared he had no idea why Bill said all
that he had said...

***Section 10: Conclusion:***
| share all of this background and information to present a few things.
1) Bill and Ryan were wrong to share with the court that we were anywhere near ready.

2) Another reason I'm not ready for trial and haven't been able to properly prepare is because Bill and Ryan are again breaching
our agreement and not doing their duties as stand-by counsels to my detriment.

3) To leave a record of some of the problems I've had to deal with the past year, and especially the past few months.
Case 1:21-cr-00083-TNM Document 114 Filed 03/30/23 Page 11 of 11

TRULINCS 26140509 - FELLOWS, BRANDON - Unit: LEW-C-A (2

FROM: 26140509

TO: Asap, A

SUBJECT: continuance/ no trial date 4
DATE: 03/03/2023 06:23:53 PM

“*Part C: Relief Sought:***

My preparation status is right where | was in September of 2021 when | first began to represent myself. I've tried to prepare,
and I've sought relief for the things that were and still are inhibiting me, so | can't be blamed for not being ready.

1) 'm seeking for the court to order Bill and Ryan to stop neglecting their duties as stand-by counsel and actually help me get
the things I've request, I'd like them to keep our agreement. | currently do NOT wish for them to be replaced.

2) To help me get things done at a faster rate, | would like to have Hoang Quan (Phone #) come onto my case to be a sort of
assistant investigator, especially with discovery. | would like to be able to have video calls with him to discuss and go over
discovery videos and other findings related to my case.

3) | again will also seek temporary release and or a laptop with internet connection to help me deal with these continuous
issues.

4) | would like the court to take trial off the calendar and not consider it until | get my many stolen preparations back and have
enough time to adequately prepare. This also means ensuring | never again have to start over from scratch (Make an order).

5) Again, | would like to have full access to global discovery at any time of the day just like | did for a short while in the DC jail,

but this time, | would like it to be organized, not be a mostly useless data dump, not crash continually, and not have loading
issues.

6) | would like all my preparations to be retrieved and given back to me, especially the preparations from the DC jail.
